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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Iris Rosales
                                        Plaintiff,
v.                                                    Case No.: 1:18−cv−00997
                                                      Honorable Sharon Johnson Coleman
Portfolio Recovery Associates, LLC
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 13, 2018:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
held on 9/13/2018. Plaintiff's motion to certify class [34] and Defendant's motion to
compel arbitration [31] is entered and continued. Plaintiff to file or inform the Court of his
decision to file an amended complaint on or before the next status. Status hearing set for
10/9/2018 at 9:00 AM. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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